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                                                                STATEMENT OF OPERATIONS
                                                                   (General Business Case)
                                                                       For the Month Ended           03/31/21


                       Current Month
                                                                                                                            Cumulative       Next Month
   3/18 to 3/31       March Forecast            Variance                                                                   (Case to Date)     Forecast
                                                                       Revenues:
         $62,228              $135,900              ($73,672)      1    Gross Sales                                                              $167,673
             $51                                        ($51)      2    less: Sales Returns & Allowances
         $62,177              $135,900              ($73,723)      3    Net Sales                                                       $0       $167,673
         $33,119               $59,796               $26,677       4    less: Cost of Goods Sold       (Schedule 'B')                             $72,099
         $29,058               $76,104              ($47,046)      5    Gross Profit                                                    $0        $95,574
             $33                    $0                   $33       6    Interest                                                                       $0
                                                          $0       7    Other Income:
                                                          $0       8
                                                          $0       9

         $29,091               $76,104              ($47,013)     10      Total Revenues                                                $0        $95,574

                                                                       Expenses:
         $25,000               $55,833               $30,833      11    Compensation to Owner(s)/Officer(s)                                       $55,833
         $46,604               $87,500               $40,896      12    Salaries                                                                  $87,500
                                                          $0      13    Commissions
                                                          $0      14    Contract Labor
                                                                        Rent/Lease:
                                                          $0      15       Personal Property
          $2,171               $19,945               $17,774      16       Real Property                                                          $19,945
          $3,911                $5,657                $1,746      17    Insurance                                                                  $5,657
                                                          $0      18    Management Fees
                                                          $0      19    Depreciation
                                                                        Taxes:
          $4,149               $12,900                $8,751      20       Employer Payroll Taxes                                                 $12,900
                                                          $0      21       Real Property Taxes
                                                          $0      22       Other Taxes
                                                          $0      23    Other Selling
                                                          $0      24    Other Administrative
                                                          $0      25    Interest
              $0                $2,500                $2,500      26    Other Expenses:     Other Taxes & Tees                                     $2,500
         ($1,066)               $2,600                $3,666      27   Employee Benefits & Workers Comp Insurance                                  $2,600
          $3,524                $4,700                $1,176      28   Repair & Maintenance                                                        $4,700
          $1,037               $14,200               $13,163      29   Telephone & Utilities                                                      $14,200
          $1,410                $3,000                $1,590      30   Software Subscriptions                                                      $3,000
                                                                  31   Professional Fees
              $0                $5,550                $5,550      32   Sales & Marketing                                                           $5,550
          $1,063                $2,000                 $937       33   R&D, Laboratory Supplies                                                    $2,000
             $41                 $400                  $359       34   Warehouse Supplies & Misc                                                     $400
           $670                                                   35   Office Supplies/Bank Fees/Dues, Auto & Pubs/Misc.                               $0
          $2,704                                                  36   Interest Expense
         $18,711                                                  37   Depreciation
           $150                                                   38   Amortization                                                                    $0

        $110,079              $216,785              $106,706      35      Total Expenses                                                $0       $216,785

        ($80,988)            ($140,681)              $59,693      36 Subtotal                                                           $0      ($121,211)

                                                                     Reorganization Items:
         ($4,123)             ($49,000)             ($44,877)     37 Professional Fees                                                           ($14,000)
                                                          $0      38 Provisions for Rejected Executory Contracts
                                                          $0      39 Interest Earned on Accumulated Cash from
                                                                      Resulting Chp 11 Case
                                                           $0     40 Gain or (Loss) from Sale of Equipment
                                                           $0     41 U.S. Trustee Quarterly Fees
                                                           $0     42

         ($4,123)             ($49,000)              $44,877      43       Total Reorganization Items                                   $0       ($14,000)

        ($85,111)            ($189,681)             $104,570      44 Net Profit (Loss) Before Federal & State Taxes                     $0      ($135,211)
                                                          $0      45 Federal & State Income Taxes

        ($85,111)            ($189,681)             $104,570      46 Net Profit (Loss)                                                  $0      ($135,211)

Attach an Explanation of Variance to Statement of Operations (For variances greater than +/- 10% only):


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                                                          BALANCE SHEET
                                                        (General Business Case)
                                                     For the Month Ended            03/31/21


     Assets
                                                                                From Schedules                  Market Value
         Current Assets

 1            Cash and cash equivalents - unrestricted                                                                     $237,060
 2            Cash and cash equivalents - restricted                                                                             $0
 3            Accounts receivable (net)                                                 A                                  $187,919
 4            Inventory                                                                 B                                  $533,107
 5            Prepaid expenses                                                                                              $26,758
 6            Professional retainers                                                                                        $30,561
 7            Other:
 8

 9                    Total Current Assets                                                                               $1,015,405

         Property and Equipment (Book Value)

10            Real property                                                             C                                        $0
11            Machinery and equipment                                                   D                                $1,047,230
12            Furniture and fixtures                                                    D                                   $12,398
13            Office equipment                                                          D                                    $6,045
14            Leasehold improvements                                                    D                                  $109,209
15            Vehicles                                                                  D                                   $10,933
16            Other:                                                                    D
17            Contruction in Process                                                    D                                   $71,454
18                                                                                      D
19                                                                                      D
20                                                                                      D

21                    Total Property and Equipment                                                                       $1,257,269

         Other Assets

22            Loans to shareholders
23            Loans to affiliates
24            Employee Advances                                                                                          $1,062,584
25            Receivable - NAI                                                                                             $100,945
26            Deposits                                                                                                      $26,937
27            Intangible Assets (Net of Amortization)                                                                      $242,318
28                    Total Other Assets                                                                                 $1,432,784
29                    Total Assets                                                                                       $3,705,458
     NOTE:
              Indicate the method used to estimate the market value of assets (e.g., appraisals; familiarity with comparable market
              prices, etc.) and the date the value was determined.




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                                                    Liabilities and Equity
                                                    (General Business Case)


     Liabilities From Schedules

          Post-Petition

               Current Liabilities

30                      Salaries and wages                                                                            $71,604
31                      Payroll taxes                                                                                  $9,025
32                      Real and personal property taxes
33                      Income taxes
34                      Sales taxes
35                      Notes payable (short term)
36                      Accounts payable (trade)                                         A                            $28,703
37                      Real property lease arrearage
38                      Personal property lease arrearage
39                      Accrued professional fees
40                      Current portion of long-term post-petition debt (due within 12 months)                       $193,451
41                      Other:
42
43

44                      Total Current Liabilities                                                                    $302,783

45             Long-Term Post-Petition Debt, Net of Current Portion                                                          $0

46                      Total Post-Petition Liabilities                                                              $302,783

          Pre-Petition Liabilities (allowed amount)

47                      Secured claims                                                   F                           $301,285
48                      Priority unsecured claims                                        F                           $919,780
49                      General unsecured claims                                         F                         $5,220,622

50                      Total Pre-Petition Liabilities                                                             $6,441,687

51                      Total Liabilities                                                                          $6,744,470

     Equity (Deficit)

52             Retained Earnings/(Deficit) at time of filing                                                    ($16,458,801)
53             Capital Stock                                                                                         $58,090
54             Additional paid-in capital                                                                        $13,446,810
55             Cumulative profit/(loss) since filing of case                                                        ($85,111)
56             Post-petition contributions/(distributions) or (draws)
57
58             Market value adjustment

59                      Total Equity (Deficit)                                                                    ($3,039,012)

60 Total Liabilities and Equity (Deficit)                                                                          $3,705,458




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                                            SCHEDULES TO THE BALANCE SHEET
                                                             (General Business Case)

                                                                   Schedule A
                                                   Accounts Receivable and (Net) Payable

                                                                            Accounts Receivable       Accounts Payable             Past Due
Receivables and Payables Agings                                            [Pre and Post Petition]     [Post Petition]        Post Petition Debt
  0 -30 Days                                                                             $157,218              $28,703
  31-60 Days                                                                              $17,055
  61-90 Days                                                                               $1,142                                               $0
  91+ Days                                                                                $14,004
  Total accounts receivable/payable                                                      $189,419              $28,703
  Allowance for doubtful accounts                                                          $1,500
  Accounts receivable (net)                                                              $187,919


                                                                   Schedule B
                                                           Inventory/Cost of Goods Sold
Types and Amount of Inventory(ies)                                        Cost of Goods Sold
                                              Inventory(ies)
                                                Balance at
                                              End of Month                Inventory Beginning of Month                        $           532,177
                                                                          Add -
   Retail/Restaurants -                                                    Net purchase                                                   $33,077
    Product for resale                                                     Direct labor
                                                                           Manufacturing overhead
   Distribution -                                                          Freight in
    Products for resale                                                    Other:                                                              $972

   Manufacturer -
    Raw Materials                                           $452,226
    Work-in-progress                                                      Less -
    Finished goods                                           $80,881       Inventory End of Month                                        $533,107
                                                                           Shrinkage
   Other - Explain                                                         Personal Use

                                                                          Cost of Goods Sold                                              $33,119
     TOTAL                                                  $533,107

   Method of Inventory Control                                            Inventory Valuation Methods
   Do you have a functioning perpetual inventory system?                  Indicate by a checkmark method of inventory used.
              Yes           No
   How often do you take a complete physical inventory?                   Valuation methods -
                                                                            FIFO cost
    Weekly                                                                  LIFO cost
    Monthly                                                                 Lower of cost or market                      X
    Quarterly                                                               Retail method
    Semi-annually                                                           Other
    Annually               X                                                 Explain
Date of last physical inventory was

Date of next physical inventory is




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                                                            Schedule C
                                                           Real Property

Description                                                                            Cost             Market Value




     Total                                                                                    $0                            $0


                                                           Schedule D
                                                     Other Depreciable Assets

Description                                                                            Cost               Book Value
Machinery & Equipment -
     Machinery & Equipment                                                             $1,705,188                  $953,287
     Shop Tools                                                                            $1,923                    $1,792
     Lab Equipment                                                                       $151,848                   $92,151

     Total                                                                             $1,858,959                $1,047,230

Furniture & Fixtures -
     Furniture & Fixtures                                                                $25,380                     $12,398




     Total                                                                               $25,380                     $12,398

Office Equipment -
     Computer Equipment                                                                  $27,469                         $6,045


     Total                                                                               $27,469                         $6,045

Leasehold Improvements -
     Leasehold Improvements                                                             $141,908                   $109,209
     Construction in Process (Exterior Remodel)                                          $71,454                    $71,454


     Total                                                                              $213,362                   $180,663

Vehicles -
     Trucks                                                                              $14,000                     $10,933



     Total                                                                               $14,000                     $10,933




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                                                                Schedule E
                                                       Aging of Post-Petition Taxes
                                               (As of End of the Current Reporting Period)

Taxes Payable                                       0-30 Days            31-60 Days        61-90 Days         91+ Days               Total
Federal
      Income Tax Withholding                                                                                                                  $0
      FICA - Employee                                                                                                                         $0
      FICA - Employer                                     $5,478                                                                          $5,478
      Unemployment (FUTA)                                   $917                                                                            $917
      Income                                                                                                                                  $0
      Other (Family & Med Leave S/H)                         $85                                                                             $85
Total Federal Taxes                                       $6,480                     $0               $0               $0                 $6,480
State and Local
      Income Tax Withholding                                                                                                                  $0
      Unemployment (UT)                                   $1,721                                                                          $1,721
      Disability Insurance (DI)                             $810                                                                            $810
      Empl. Training Tax (ETT)                               $14                                                                             $14
      Sales                                                                                                                                   $0
      Excise                                                                                                                                  $0
      Real property                                                                                                                           $0
      Personal property                                                                                                                       $0
      Income                                                                                                                                  $0
      Other (Attach List)                                                                                                                     $0
Total State & Local Taxes                                 $2,545                     $0               $0               $0                 $2,545
Total Taxes                                               $9,025                     $0               $0               $0                 $9,025


                                                                Schedule F
                                                           Pre-Petition Liabilities

                                                                                            Claimed           Allowed
List Total Claims For Each Classification -                                                 Amount           Amount (b)
      Secured claims (a)                                                                      $301,285         $301,285
      Priority claims other than taxes
      Priority tax claims                                                                      $919,780         $919,780
      General unsecured claims                                                               $5,220,622       $5,220,622
      (a)   List total amount of claims even it under secured.
      (b)   Estimated amount of claim to be allowed after compromise or litigation. As an example, you are a defendant in a lawsuit
            alleging damage of $10,000,000 and a proof of claim is filed in that amount. You believe that you can settle the case for a
            claim of $3,000,000. For Schedule F reporting purposes you should list $10,000,000 as the Claimed Amount and
            $3,000,000 as the Allowed Amount.
                                                                Schedule G
                                                       Rental Income Information
                                                 Not applicable to General Business Cases

                                                                Schedule H
                                              Recapitulation of Funds Held at End of Month

                                                    Account 1            Account 2          Account 3         Account 4
Bank
Account Type
Account No.
Account Purpose
Balance, End of Month
Total Funds on Hand for all Accounts                            $0

Attach copies of the month end bank statement(s), reconciliation(s), and the check register(s) to the Monthly Operating Report.

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                                  STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS
                                                Increase/(Decrease) in Cash and Cash Equivalents
                                                      For the Month Ended

                                                                                                Actual                 Cumulative
                                                                                             Current Month            (Case to Date)
     Cash Receipts
1          Rent/Leases Collected
2          Cash Received from Sales                                                                  $82,379
3          Interest Received                                                                             $33
4          Borrowings
5          Funds from Shareholders, Partners, or Other Insiders
6          Capital Contributions
7
8
9
10
11

12               Total Cash Receipts                                                                 $82,412                           $0

     Cash Disbursements
13         Payments for Inventory                                                                       11624
14         Selling
15         Administrative                                                                            $29,567
16         Capital Expenditures                                                                         $228
17         Principal Payments on Debt                                                                 $4,918
18         Interest Paid                                                                                $718
           Rent/Lease:
19               Personal Property                                                                      $760
20               Real Property
           Amount Paid to Owner(s)/Officer(s)
21               Salaries
22               Draws
23               Commissions/Royalties
24               Expense Reimbursements
25               Other
26         Salaries/Commissions (less employee withholding)
27         Management Fees
           Taxes:
28               Employee Withholding
29               Employer Payroll Taxes
30               Real Property Taxes
31               Other Taxes
32         Other Cash Outflows:
33               Software Development Costs                                                           $8,300
34
35
36
37

38               Total Cash Disbursements:                                                           $56,115                           $0

39 Net Increase (Decrease) in Cash                                                                   $26,297                           $0

40 Cash Balance, Beginning of Period                                                                $210,763

41 Cash Balance, End of Period                                                                      $237,060                           $0




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                                                            STATEMENT OF CASH FLOWS
                                                (Optional) Increase/(Decrease) in Cash and Cash Equivalents
                                                                    For the Month Ended

                                                                                                            Actual             Cumulative
     Cash Flows From Operating Activities                                                                Current Month        (Case to Date)
1         Cash Received from Sales
2         Rent/Leases Collected
3         Interest Received
4         Cash Paid to Suppliers
5         Cash Paid for Selling Expenses
6         Cash Paid for Administrative Expenses
          Cash Paid for Rents/Leases:
7             Personal Property
8             Real Property
9         Cash Paid for Interest
10        Cash Paid for Net Payroll and Benefits
          Cash Paid to Owner(s)/Officer(s)
11            Salaries
12            Draws
13            Commissions/Royalties
14            Expense Reimbursements
15            Other
          Cash Paid for Taxes Paid/Deposited to Tax Acct.
16            Employer Payroll Tax
17            Employee Withholdings
18            Real Property Taxes
19            Other Taxes
20        Cash Paid for General Expenses
21
22
23
24
25
26

27            Net Cash Provided (Used) by Operating Activities before Reorganization Items                               $0                     $0

     Cash Flows From Reorganization Items

28        Interest Received on Cash Accumulated Due to Chp 11 Case
29        Professional Fees Paid for Services in Connection with Chp 11 Case
30        U.S. Trustee Quarterly Fees
31

32            Net Cash Provided (Used) by Reorganization Items                                                           $0                     $0

33 Net Cash Provided (Used) for Operating Activities and Reorganization Items                                            $0                     $0
     Cash Flows From Investing Activities
34        Capital Expenditures
35        Proceeds from Sales of Capital Goods due to Chp 11 Case
36

37            Net Cash Provided (Used) by Investing Activities                                                           $0                     $0

     Cash Flows From Financing Activities
38        Net Borrowings (Except Insiders)
39        Net Borrowings from Shareholders, Partners, or Other Insiders
40        Capital Contributions
41        Principal Payments
42

43            Net Cash Provided (Used) by Financing Activities                                                           $0                     $0

44 Net Increase (Decrease) in Cash and Cash Equivalents                                                                  $0                     $0

45 Cash and Cash Equivalents at Beginning of Month

46 Cash and Cash Equivalents at End of Month                                                                             $0                     $0

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